Case 1:18-cv-02112-JDB Document 2-2 Filed 09/11/18 Page 1 of 8


                                                   EXHIBIT A
Case 1:18-cv-02112-JDB Document 2-2 Filed 09/11/18 Page 2 of 8
Case 1:18-cv-02112-JDB Document 2-2 Filed 09/11/18 Page 3 of 8
Case 1:18-cv-02112-JDB Document 2-2 Filed 09/11/18 Page 4 of 8
Case 1:18-cv-02112-JDB Document 2-2 Filed 09/11/18 Page 5 of 8
Case 1:18-cv-02112-JDB Document 2-2 Filed 09/11/18 Page 6 of 8
Case 1:18-cv-02112-JDB Document 2-2 Filed 09/11/18 Page 7 of 8
Case 1:18-cv-02112-JDB Document 2-2 Filed 09/11/18 Page 8 of 8
